                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                     )          No. 3:06Cr430
                                              )
                              Plaintiff       )
                                              )
               v.                             )              ORDER
                                              )
JOSEPH DiBRUNO, SR, et al.,                   )
                                              )
                              Defendant       )



       BEFORE THE COURT is a Pro Se Motion of Defendant Joseph DiBruno, Sr., to dismiss for

violation of the Speedy Trial Act.

       For the reasons set forth in the Governments’ Opposition to Defendant’s Motion to Dismiss

for Violations of the Speedy Trial Act, the motion is hereby DENIED.

                                                  Signed: July 20, 2007




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